Case 2:02 Cv Gmioo-JCZ Document 15 Filed Osi mp2 Page 1 of 13

7

 

 

U.S. DISTRICT COURT
! «BAST RAM DIBTRIET OF LOUIS!A"*

LORETTA G. WHYTE
, CLERK

 

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

LAYMON ADAMS CIVIL ACTION

versus NO. 02-1059

CHARLES FOTI, JR., DR. RICHARD INGLESE,

DR. M. DAVIDSON, DR. M. SELODYNIS,

DR. DWIGHT MCKENNA, DR. MARVEZ,

DR. ANDREWS, DR. SAMUEL GORE,

PAUL THOMAS, R.N., J. HAMPTON, R.N.,

BEVERLY VICTORIAN, L.P.N., and

J. HAWKINS, L.P.N. SECTION: "A" (1)

KHKKKKHKKAKKAKAIKK EK KIKEE KEKE KKK

AMENDED COMPLAINT

Plaintiff Laymon Adams repeats and re-alleges each and
every allegation of the petition he filed in the Civil District
Court for Orleans Parish and removed to this Court, and adopts them
herein as if copied in extenso.

Adams respectfully amends and supplements the petition
for damages in the following respects:

Plaintiff amends and supplements paragraph I as follows:

I.

DEFENDANTS

1. Defendant SHERIFF CHARLES C. FOTI is a person of the

ee )
—< roces® ~~
—T oid
—
Case 2:02-CV- (poo JCZ Document 15 Filed 09/2 Page 2 of 13

full age of majority and a resident of the Eastern District of
Louisiana. At all times described herein, he was the Criminal
Sheriff of Orleans Parish and as such, was and is responsible for
the hiring, training, supervision, discipline and control of the
deputies under his command, as well as medical personnel and other
health care providers treating persons in his custody. Foti is
also responsible for the supervision, administration, policies,
practices, customs and operations of the Orleans Parish Criminal
Sheriff’s Office (OPSCO) and its correctional facilities. Foti is
a final policymaker, and is sued in his individual and official
capacities. He is liable both directly and vicariously for the
actions complained of herein.

2. Defendant DR. RICHARD D. INGLESE was and is the
Medical Director of the Orleans Parish Criminal and is an employee
of the defendant Sheriff Foti. At all times pertinent herein
Inglese was the on-site Health Authority for OPCSO and was
responsible for the provision of medical care to persons
incarcerated in OPCSO facilities, both directly and as a
supervisor. He was responsible for recommending and hiring
qualified health care professionals and staff, insuring adequate
staffing for the medical needs of prisoners and for the
supervision, training and monitoring of personnel and medical
services at OPCSO correctional facilities to insure access of

prisoners to reasonable and adequate health care. Inglese was and

Amending & supplemental complaint
Adams v. Foti, USDC # 02-1059"A"(1)
Page 2 of 13
Case 2:02-cv- @Boo-JCZ Document 15 Filed 09) pe Page 3 of 13

is responsible for supervision the development, reviewing and
revising of policies, procedures and practices of the Medical
Program and is a final policymaker with regard to the provision of
medical services to persons in the custody of the OPCSO. He was
and is responsible for providing and supervising direct patient
care to Laymon Adams at the time of Adams’ incarceration at the
OPCSO in December, 2000. Inglese is sued in his individual and
official capacities. He is person of the full age of majority and,
on information and belief, is a resident of the Eastern District of
Louisiana.

3. Defendants DR. M. DAVIDSON, DR. M. SELODYNIS, DR.
DWIGHT MCKENNA, DR. MARVEZ, DR. ANDREWS, DR. SAMUEL GORE, are
physicians employed by defendant Sheriff Foti and the OPCSO who
provided medical services to Laymon Adams during his confinement at
the OPCSO in 2000 and 2001. They are persons of the full age of
majority and on information and belief are residents of the Eastern
District of Louisiana. They are being sued in their individual and
official capacities.

4, Defendant PAUL THOMAS was and is the Director of
Nursing (DON) at all times pertinent herein and an employee of
defendant Foti and OPCSO. He was responsible for the supervision
and coordination of nursing services, including coordinating
physician/nursing sick call and follow-up care. He was and is
responsible for insuring that appropriate nursing care is given to

Amending & supplemental complaint
Adams _v. Foti, USDC # 02-1059"A"(1)
Page 3 of 13
Case 2:02-cv- @ayoo-JCZ Document 15 Filed OSI Pp? Page 4 of 13

person housed in the Medical Observation Unit (MOU) of the OPCSO,
including Laymon Adams. Thomas is a person of the full age of
majority, is sued in his individual and official capacities, and on
information and belief is a resident of the Eastern District of
Louisiana.

5. Defendants J. HAMPTON, R.N., BEVERLY VICTORIAN,
L.P.N., J. HAWKINS, L.P.N. were each employees of defendant Sheriff
Foti in the position of registered nurse ({R.N.) and/or licensed
practical nurses (L.P.N.) at all times pertinent herein, and were
responsible for triage, performing nurse sick call for inmates in
the custody of the OPCSO, including follow-up paperwork and
notification necessary for continuity of inmate care, performance
of medical treatments and procedures as ordered, and producing and
maintaining accurate and legible documentation of all treatments
and procedures. They were each responsible for monitoring the
medical condition, health and safety of Laymon Adams, and providing
nursing care to him while he was housed in the MOU of OPCSO,
including conducting and accurately reporting regular, periodic
observations, insuring that his fractured ankle received adequate
cleansing and dressing and appropriate medical attention. The each
had authority to make regular and periodic inquiries relative to
the cleansing, dressing and medication of Laymon Adams, and to
insure that he received appropriate medical treatment for his

diabetic condition and his injured ankle. Each of these defendants

Amending & supplemental complaint
Adama v. Foti, USDC # 02-1059"A"(1)
Page 4 of 13
Case 2:02 Cv (moo JCZ Document 15 Filed OS yp? Page 5 of 13

is a person of the full age of majority, are being sued in their
individual and official capacities, and is a resident of the

Eastern District of Louisiana.

Plaintiff amends and supplements paragraph VIII. as
follows: VII.

Defendants Andrews and Hawkins were the responsible
parties who assigned Laymon Adams to the MOU and authorized the
transfer of him to the MOU.

Plaintiff amends and supplements paragraph X. as follows:

X.

Defendants Davidson, Inglese and Victorian, as well as
McKenna and Chief Rudy, knew that Adams was scheduled for continued
treatment of his fractured ankle at the Medical Center of Louisiana
at New Orleans (MCLNO); yet they denied access to those medical
practitioners qualified in orthopedic medicine to address Adams’
problem. They failed to maintain compliance with the medical
regimen ordered by the primary treating physician at the MCLNO.
The failure to facilitate the ongoing monitoring, medical
supervision, and orthopedic specialty oversight, particularly given
Adams’ history of diabetes and injury, was a cause of the below-
the-knee amputation (BKA) that Adams underwent at the MCLNO in

January, 2001.

Amending & supplemental complaint
Adams v. Foti, USDC # 02-1059"A" (1)
Page 5 of 13
Case 2:02-CV @Bpoo-JCZ Document 15 Filed 0s? Page 6 of 13

Plaintiff amends and supplements paragraph XIV. as
follows: XIV.

Defendants McKenna, Hampton, and another nurse were made
aware of the seepage from the pins around Adams’ wounds at this
time, and failed to take the necessary medical steps to remedy the
situation.

Plaintiff amends and supplements paragraph XXIX as
follows: XXIX.

The conduct of defendants CHARLES FOTI, JR., DR. RICHARD
INGLESE, DR. M. DAVIDSON, DR. M. SELODYNIS, DR. DWIGHT MCKENNA, DR.
MARVEZ, DR. ANDREWS, DR. SAMUEL GORE, PAUL THOMAS, R.N., J.
HAMPTON, R.N., BEVERLY VICTORIAN, L.P.N., and J. HAWKINS, L.P.N.,
in executing the policy of Foti, constituted negligence and
deliberate indifference to Adams’ serious medical needs, all of
which have been set out in the petition for damages, and which are
evidence in the records of the MCLNO and OPCSO.

Plaintiff amends and supplements paragraph XXXI as
follows: XXX1I.

This action is brought pursuant to 42 U.S.C §§ and
pursuant to the First, Fourth, sixth, Eighth and Fourteenth
Amendments and Article IV (Privileges and Immunities Clause) of the
United States Constitution. Jurisdiction is founded on 28 U.S.C.
Sections 1331 and 1343 of the aforementioned statutory and

constitutional provisions. Plaintiff invokes the supplemental

Amending & supplemental complaint
Adame _ v. Foti, USDC # 02-1059"A" (1)
Page 6 of 13
Case 2:02-CV- Gago JCZ Document 15 Filed op Page 7 of 13

Jurisdiction of the Court pursuant to 28 U.S.C. § 1367 to consider
claims arising under Louisiana state law.

Plaintiff amends and supplements his petition by adding
the following paragraphs:

XXXII.

Defendants Sheriff Foti, Dr. Inglese, Paul Thomas (DON),
acting in individually and collectively, established, condoned and
encouraged customs, policies, patterns, and practices which
directly and proximately caused the deprivation of the civil and
constitutional rights of Laymon Adams as alleged herein and in the
petition for damages, and the damages and injuries as described.

These written and unwritten policies, customs, practices,
and patterns included, inter alia:

1. Inadequate, improper and unreasonable treatment,
monitoring and supervision of serious medical and psychiatric needs
of persons in custody.

2. Inadequate and unreasonable sick call and referral
procedures relative to the serious medical and psychiatric needs of
persons in custody.

3. Inadequate and unreasonable follow-up and on-site
medical and psychiatric staffing and coverage.

4, Hiring of inadequately trained and inexperienced
persons to render medical and psychiatric treatment to persons in

custody.

Amending & supplemental complaint
Adams v. Foti, USDC # 02-1059"A" (1)
Page 7 of 13
Case 2:02-cv @apoo-JCZ Document 15 Filed 0s? Page 8 of 13

5. Inadequate training, supervision and discipline of
medical personnel responsible for furnishing medical and
psychiatric treatment and services to persons in custody.

6. Inadequate hiring, training, supervision and
discipline deputies and supervisors in the observation and
monitoring and communication to appropriate personnel the serious
medical needs of prisoners.

7. A pattern and practice of deputies and medical
personnel ignoring prisoners’ requests and needs for medical and/or
psychiatric attention so that prisoners serious medical needs are
frequently ignored and, in those instances where medical and/or
psychiatric treatment is ultimately obtained, it is often
unreasonably delayed and inadequate to the medical and psychiatric
needs of the prisoners, causing serious, pain, suffering, and
frequently permanent injury and death.

8. Inadequate quality control policies, procedures and
practices, inadequate critical incident review and inadequate
identification and correction of serious deficiencies in policy and
practices affecting the delivery quality of medical and psychiatric
services.

XXXIII.

In addition to the injuries sustained by Laymon Adams,

including the loss of his leg below the knee, the deliberate

indifference of defendants Foti and Inglese to the serious medical

Amending & supplemental complaint
Adams v. Poti, USDC # 02-1059"A" (1)
Page 8 of 13
Case 2:02-CV @apoo-JCZ Document 15 Filed a ae Page 9 of 13

needs of prisoners in their custody has resulted in numerous
instances of other prisoners sustaining serious and oftentimes
fatal injuries and illnesses, including but unlimited to the
following cases:

1. Joanne Johnson died April, 1999 of DIABETIC
KETOACIDOSIS due to failure to receive proper insulin dosage and
monitoring while in custody.

2. Keiwine Warren died August, 1998 from a massive
infection caused by an untreated PERFORATED ULCER. Despite more
than four (4) days of begging to see a physician, Mr. Warren was
not seen by a doctor until he collapsed in his cell and stopped
breathing. The LPN who saw him several hours before his collapse
failed to take his vital signs, which would have revealed his
serious medical condition and need for immediate treatment.

3. Ruth Ann Milazzo died November, 1996 of DIABETIC
KETOACIDOSIS due to failure to receive proper insulin dosage and
medical care while in custody.

4. Katherine Hoard died in 1992. She was a medically
fragile with serious illnesses who was confined in the jail rather
than being transferred to a hospital or receiving essential
medication at the MOU of OPCSO.

5. Giselle Jenkins, in July, 1998 suffered PERMANENT
PARALYSIS as a result of seizures caused by denial of proper
Amending & supplemental complaint

Adams v. Foti, USDC # 02-1059"A"(1)
Page 9 of 13
Case 2:02-Cv- Goo JCZ Document 15 Filed ae Page 10 of 13

medication and medical treatment while in custody.
6. Mark McAdams, between 1992 and 1993, suffered a
RUPTURED APPENDIX and nearly died due to failure of medical or
correctional personnel to respond to numerous requests for medical
treatment.
XXXIV.
At all times pertinent herein, defendants Sheriff Foti,
Inglese, Thomas acted unreasonably and with deliberate indifference
and disregard for the constitutional and civil rights of life and
safety of Laymon Adams. The actions and omissions of these
defendants were malicious, willful, wanton and reckless.
XXXIV.
Plaintiff Laymon Adams further alleges that such acts and
omissions alleged herein and in his petition for damages were the
cause-in-fact and proximate cause of the loss of his leg and the

injuries suffered because of these defendants.

SUPPLEMENTAL JURISDICTION STATE LAW CLAIMS
XXXV.
At all times pertinent times the defendant employees of
the OPCSO were acting in the course and scope of their employment
and the Sheriff Foti is vicariously liable for the injuries and

damages cause as a result of their acts and omissions.

Amending & supplemental complaint
Adams v. Foti, USDC # 02-1059"A"(1)
Page 10 of 13
Case 2:02-cv oo“ JCZ Document 15 Filed gy? Page 11 of 13

XXXVI.

The defendant medical director Richard Inglese, the
defendant director of nursing Paul Thomas, the defendant physicians
DR. M. DAVIDSON, DR. M. SELODYNIS, DR. DWIGHT MCKENNA, DR. MARVEZ,
DR. ANDREWS, DR. SAMUEL GORE, and defendant nurses J. HAMPTON,
R.N., BEVERLY VICTORIAN, L.P.N., J.. HAWKINS, L.P.N. each acted

and/or failed to act properly in derogation of their duties as
medical professionals and their treatment of Laymon Adams fell
below the standard of care in the community.

XXXVIT.

The defendants Sheriff Foti, Dr. Inglese, and Director of
Nursing Paul Thomas are liable for the wrongs complained of herein
by virtue of encouraging, aiding, abetting, counseling and
condoning the commission of the acts and omissions described
herein, by their failure to administer, organize, staff and
discipline properly the medical program and for their failure to
screen, hire, train, supervise and discipline properly persons
under their supervision and control whose acts and omissions
contributed to the amputation of Laymon Adams’ leg below the knee.

XXXVIII.

The employees of defendant Sheriff Foti and the OPCSO,
acting in the course and scope of their employment and for whom
Foti is vicariously liable, violated the Louisiana Constitution
guarantees of the rights to due and equal protection.

Amending & supplemental complaint
Adams v. Foti, USDC # 02-1059"A" (1)
Page 11 of 13
' Case 2:02-cV-(oo-JCZ Document 15 Filed Sp Page 12 of 13

XXXIX.

All these defendants are liable individually, jointly and

severally for their acts and omissions as alleged herein, which

acts and omissions were the cause-in-fact and proximate cause of

injuries sustained by Laymon Adams.

DAMAGES

XL.

Laymon Adams has suffered the following damages as a

result of the acts and omissions of the defendants:

1. Conscious and severe physical, mental and emotional

pain and suffering;

2. Permanent loss of the use of his leg;
3. Loss of income and the ability to earn money; and
4. Inconvenience, embarrassment, humiliation.

PRAYER FOR RELIEF
WHEREFORE, plaintiff LAYMON ADAMS prays that after due

proceedings there be judgment rendered in his favor against all

and in solido as

defendants individually, severally, jointly,

follows:

1. Compensatory damages in the amount of $850,000.00;

2. Punitive damages against defendants Sheriff Foti, Dr.

Inglese, and Director of Nursing Paul Thomas;

Amending & supplemental complaint
Adams v. Foti, USDC # 02-1059"A"(1)

Page 12 of 13
Case 2:02-cv-@eo-JCZ Document 15 Filed OS ap Page 13 of 13

3. Reasonable attorneys fees, all costs of these
proceedings and legal interest; and
4. All other relief that this Honorable Court deems

just, proper and appropriate.

RESPECTFULLY SUBMITTED,

actos )fewreer

nEcinarh J. LAURENT, #17683
Mailing: 3843 Coventry St.
Slidell, LA 70458
(504) 847-1657
fax 847-2599

Amending & supplemental complaint
Adams v. Foti, USDC # 02-1059"A" (1)
Page 13 of 13
